20-60251-mmp Doc#73 Filed 05/25/23 Entered 05/25/23 17:48:51 Main Document Pg 1 of 2




  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: May 25, 2023.

                                                             ________________________________________
                                                                        MICHAEL M. PARKER
                                                                UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         WACO DIVISION

   IN RE:                                            §
                                                     §
   LETICIA MARTINEZ,                                 §           CASE NO. 20-60251-MMP
                                                     §
                    DEBTOR.                          §           CHAPTER 13

                                 ORDER TO APPEAR AND SHOW CAUSE

            The Court reviewed the docket sheet, including the Motion of Sandra Baumgardner for

   Relief from Stay and Waiver of Thirty Day Requirement (ECF No. 62), the Motion to Late File

   Proof of Claim (ECF No. 67), the Trustee’s Response to Motion of Sandra Baumgardner for Relief

   from Stay and Waiver of Thirty Day Requirement (ECF No. 69), the Debtor’s Schedules and

   Statement of Financial Affairs (ECF No. 11), and the Debtor’s Amended Schedules A/B, C, and D

   (ECF No. 71), filed three years after the Debtor’s original schedules and only after a secured real

   property creditor sought to lift the stay (ECF No. 62) and late file a claim (ECF No. 67). Based on

   these filings, it appears to the Court that the Debtor may have disclosed for the first time (three
20-60251-mmp Doc#73 Filed 05/25/23 Entered 05/25/23 17:48:51 Main Document Pg 2 of 2




   years into her chapter 13 case) an interest in the real property located at 500 N 62nd St., Waco,

   TX, 76710 and related secured claim. The circumstances of such non-disclosure suggest the Debtor

   may have acted in bad faith, warranting conversion of the Debtor’s case to a case under Chapter

   7. See Marrama v. Citizens Bank, 549 U.S. 365 (2007). Accordingly, the Court will conduct a

   show-cause hearing to determine why this case should not be converted to a Chapter 7 case under

   either Marrama or 11 U.S.C. § 1307(c). It is, therefore,

          ORDERED that the above-captioned Debtor and Debtor’s attorney (if applicable) appear

   before this Court on JUNE 14, 2023, AT 9:30 A.M. in the United States Bankruptcy Court for the

   Western District of Texas, United States Courthouse, 800 Franklin Avenue, Waco, Texas, and

   show cause as to why this case should not be converted to a Chapter 7 case.

          Parties are required to appear at the hearing in person. If counsel or a party wishes to attend

   the hearing remotely by video via the Court’s WebEx platform or telephone, they may file a request

   with Judge Parker in CM/ECF using the “Other” category and may appear remotely only with

   leave of court.

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